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Rule C

2009 Amendments

The times set in the former rule at 10 or 20 days have
been revised to 14 or 21 days. See the Note-to Rule 6.

Rule D.  Possessory, Petitory, and Partition
Actions‘ , ma
In all actions for possession, partition, and to try
title maintainable according to the course of the admi-
ralty practice with respect to a vessel, in all actions so
maintainable with respect: to the possession of cargo
or other: maritime property, and in all actions by one
or more part: owners against. the. others to. obtain
security for the return. of the vessel from any voyage
undertaken without their consent, or by: one or more.
part owners against the others to obtain possession of
the vessel for any voyage on giving security: for: its
safe return, the process shall be by a warrant. of
arrest: of the vessel, cargo, or other property, and’ by
notice in the manner provided by Rule B(2) to the
adverse party or parties:
(Added Feb; 28, 1966, eff. July 1, 1966.)

ADVISORY COMMITTEE NOTES -
1966 Adoption‘

This carries. forward the substance of Admiralty Rule 19:

Rule 19° provided the remedy of arrest in controverstes
involving title and possession in general. See The Tilton, 23
Fed:Cas.1277 (No: 14,054) (C.C.D.Mass.1830), In addition ‘it
provided that remedy in controversies between co-owners
respecting the employment of 4 vessel: It did not deal
comprehensively with controversies between co-owners, omit-
ting: the: remedy of: partition: Presumably: the omission: is
traceable to. the: fact that, when. the rules were originally
promulgated, concepts: of: substantive law (sometimes stated
as concepts: of jurisdiction) denied the remedy of partition
except where the parties in disagreement were the owners-of
equal shares. See The Steamboat Orleans, 36.US. (11 Pet.)
175 (1887). The Sipreme.Court has now removed any doubt
as to the jurisdiction of the district courts to partition a
vessel, and has held in addition that no fixed principle of
federal admiralty law limits the: remedy to the case of equal
shares, Madruga, v. Superior Court, 346 U.S. 556 (1954), It
is therefore appropriate to include a reference to partition in
the rule, os

Rule E. Actions In Rem and Quasi In Rem;
General Provisions:

(1) Applicability.. Except as otherwise. provided,
this rule applies to actions in personam with process
of maritime attachment and. garnishment, actions in
rem, and petitory, possessory, and partition actions,
supplementing Rules B, C,.and Dz. .

(2) Complaint; Security.

(a) Complaint: In actions.to which this rule is
applicable the complaint shall state the circum-
stances from. which the claim arises with such par-
ticularity that. the defendant or claimant will be
able, without moving for a more definite statement,

RULES OF CIVIL PROCEDURE

to commence: an: investigation of the facts: and: t6
frame a responsive pleading. -
(b) Security for Costs. Subject. to the pro
sions of Rule 54(d) and of relevant statutes,
court. may, on. the filing. of the. complaint. or on: t
appearance of any defendant, claimant, or any oth
party; or at any later time;. require the plain
defendant; claimant, or other party to give securit
or additional security, in such sum as the court sh
direct to pay all costs. and.expenses that shall-be
awarded against the party by’ any. interlocu
order or by the final judgment; or on appeal by any
appellate court.
(3) Process.

(a) In admiralty. and maritime proceedings. pres
cess in rem or of maritime attachment and garnishe
ment may be served only within the distriety:...

(b) Issuance and Delivery. Issuance and deliv:
ery of process in rem, or of maritime attachm nt

to -

and garnishment, shall be held in abeyance if the

plaintiff so requests. wo Le

(4) Execution. of Process; Marshal's Return;
Custody of Property; Procedures for Release:.::

(a) In General. Upon issuance and delivery ¢
the process, or, in the case of summons with proc
of attachment and garnishment, when it appeé

_ that. the defendant cannot be found within the
trict, the marshal or other person, or organization |
having a warrant shall forthwith execute the: pro=
cess in-aecordance with this subdivision (4), making
due and prompt return. : :

(b) Tangible Property: If tangible property ig
to be attached or arrested, the marshal or other
person or. organization, having the warrant shall
take it into the marshal’s possession for safe custo
dy... If the character. or. situation of the property:
such. that the taking of aetual possession is impraetis-
cable; the: marshal or: other person executing the:
process ‘shall affix'a copy thereof to the property in
a conspicuous place and leave'a copy of the com
plaint and process: with the person having posses-
sion or the person’s agent. In furtherance of the:
marshal’s custody of any vessel the marshal ix
authorized to make a written request to the collec;
tor of customs not to grant clearance to such vessel
until notified, by the marshal or deputy marshal or.
by the clerk that the vessel has been released in
accordance with these rules.

(c) Intangible Property.: If intangible property
is to be attached or arrested the marshal or other
person or organization having the warrant shall
execute the process by leaving with the garnishee
or other obligor a copy of the complaint and process
requiring the garnishee or other obligor to. answer
as provided in Rules. B(3)(a) and C(6); or the mar-

Complete Annotation Materiale; see Title 28 U.S.CA.
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ADMIRALTY, MARITIME CLAIMS, SUPP. RULES Rule E

shal may accept for payment into the registry of the
court the amount owed to the extent of the amount
claimed by the plaintiff with interest and costs, in
which event the garnishee or other obligor shall not
he required to answer unless alias process shall be
served,

(d) Directions With Respect te Property in
Custody. The marshal or other person or organiza-
tion having the warrant may at any time apply to
the court for direetions with respect to property
that has been attached or arrested, and shall give
notice of such application to any or all of the parties
as the court may direct.

(e) Expenses of Seizing and Keeping Property;
Deposit. These rules do not alter the provisions of
Title 28, ULS.C., § 1921, as amended, relative to the
expenses of seizing and keeping property attached
or arrested and to the requirement of deposits to
cover such expenses.

(f) Procedure for Release From Arrest or At-
tachment. Whenever property is arrested or at-
tached, any person claiming an interest in it shall be
entitled to a prompt hearing at which the plaintiff
shall be required to show why the arrest or attach-
ment should not be vacated or other relief granted
consistent with these rules. This subdivision shall
have no application to suits for seamen’s wages
when process is issued upon a certification of sufti-
cient cause filed pursuant to Title 46, U.S.C. §§ 603
and 604 or to actions by the United States for
forfeitures for violation of any statute of the United
States.

(5) Release of Property.

(a) Special Bond. Whenever process of mari-
time attachment and garnishment or process in rem
is issued the execution of such process shall be
stayed, or the property released, on the giving of
security, to be approved by the court or clerk, or by
stipulation of the parties, conditioned to answer the
judgment of the court or of any appellate court.
The parties may stipulate the amount and nature of
such security. In the event of the inability or
refusal of the parties so to stipulate the court shall
fix the principal sum of the bond or stipulation at an
amount sufficient to cover the amount of the plain-
tiffs claim fairly stated with accrued interest and
costs; but the principal sum shall in no event
exceed (i) twice the amount of the plaintiff's claim or
(ii) the value of the property on due appraisement,
whichever is smaller. The bond or stipulation shall
be conditioned for the payment of the principal sum
and interest thereon at 6 per cent per annum.

(b) General Bond. The owner of any vessel
may file a general bond or stipulation, with suffi-
cient surety, to be approved by the court, condi-
tioned to answer the judgment of such court in all

or any actions that may be brought thereafter in
such court in which the vessel is attached or arrest-
ed. Thereupon the execution of all such process
against such vessel shall be stayed so long as the
amount sécured by such bond or stipulation is at
least double the aggregate amount ¢laimed by plain-
tiffs in all actions begun and pending in which such
vessel has been attached or arrested. Judgments
and remedies may be had on such bond or stipula-
tion as if a special bond or stipulation had been filed
in each of such actions. The district court may
make necessary orders to carry this rule into effect,
particularly as to the giving of proper notice of any

action against or attachment of a vessel for which a

general bond has been filed. Such bond or stipula-

tion shall be indorsed by the clerk with a minute of
the actions wherein process is so stayed. Further
security may be required by the court at any time.

If a special bond or stipulation is given in a
particular case, the liability on the general bond or
stipulation shall cease as to that case.

(c) Release by Consent or Stipulation; Order
of Court or Clerk; Costs. Any vessel, cargo, or
other property in the custody of the marshal or
other person or organization having the warrant
may be released forthwith upon the marshal’s ac-
ceptance and approval of a stipulation, bond, or
other security, signed by the party on whose behalf
the property is detained or the party’s attorney and
expressly authorizing such release, if all costs and
charges of the court and its officers shall have first
been paid. Otherwise no property in the custody of
the marshal, other person or organization having
the warrant, or other officer of the court shall be
released without an order of the court; but such
order may be entered as of course by the clerk,
upon the giving of approved security as provided by
law and these rules, or upon the dismissal or discon-
tinuance of the action; but the marshal or other
person or organization having the warrant shall not
deliver any property so released until the costs and
charges of the officers of the court shall first have
been paid.

(d) Possessory, Petitory, and Partition Ae-
tions, The foregoing provisions of this subdivision
(5) do not apply to petitory, possessory, and parti-
tion actions. In such cases the property arrested
shall be released only by order of the court, on such
terms and conditions and on the giving of such
security as the court may require.

(6) Reduction or Impairment of Security. When-
ever security is taken the court may, on motion and
hearing, for good cause shown, reduce the amount of
security given; and if the surety shall be or become
insufficient, new or additional sureties may be re-
quired on motion and hearing.

Complete Annotation Materlals, see Title 28 U.S.C.A.

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RULES OF CIVIL PROCEDURE

Rule E

(7) Seeurity on Counterclaim.

(a) When a person who has given security for
damages in the original action asserts a counter-
claim that arises from the transaction or occurrence
that is the subject of the original action, a plaintiff
for whose benefit the security has been given must
give security for damages demanded in the counter-
claim unless the court for cause shown, directs
otherwise. Proceedings on the original’ claim must
be stayed until this ‘security is given unléss the
court directs otherwise.

(b).. The: plaintiff is required to give security un-
der Rule E(7)(a) when, the United. States or its
corporate. instrumentality. counterclaims and would
have. been. required. to. give security to respond in
damages if a private party but is relieved by law
from giving: security.

(8) Restricted: Appearance.: An. appearance to de-
fend: against. an admiralty and maritime claim. with
respect to which. there has issued. process.in. rem, or
process of attachment and garnishment, may be ex-
pressly restricted to the defense of such claim, and in
that event is not. an appearance for the purposes of
any other claim with respect to which such process is
not available or has not been served.

(9). Disposition of Property; Sales.

(a) Interlocutory Sales; Delivery.

(i) On application of a party, the marshal, or
other person having custody of the property, the

_ court may order all or part of the property sold—

with the sales proceeds, or as much. of them as

will satisfy the judgment, paid into court to await

further orders of the court—ift .

_ (A) the attached or arrested property is per-
ishable, or liable to deterioration, decay, or
injury by being detained in custody pending the
action;

_ (B) the expense of kéeping the property is
excessive or disproportionate; or:

- (C) there is an unreasonable delay in secur-
ing release of the property. ,

(ii) In the circumstances described in Rule

E(9)(a)@), the court, on motion bya defendant or

a person filing a statement: of interest or right

under Rule C(6); may order that: the’ property,

rather than‘ being sold, be delivered’ to the mov-
ant upon giving security under these rules. '

(b) Sales; Proceeds. All sales of‘ property shall
be made by the marshal or a deputy marshal, or by
other person or organization having the warrant, or
by any other person assigned by the court where
the marshal or other person or organization: having
the warrant is a party in interest; and.the-proceeds

- of sale shall be forthwith paid into the registry of

the court to be disposed of according to law: .

(10) Preservation of Property, When the owner or

another person remains in: possession of property
attached or: arrested under the provisions of: Rule
E(4)(b) that: permit execution. of: process. without. tak-
ing actual possession, the court, on a party’s motion or
on its own, may enter any order necessary to preserve
the property and to prevent ite removal, .. .
(Added Feb. 28, 1966, eff. July. 1, 1966, and. amended Apr. 29,
1985, eff. Aug. 1, 1985; Mar. 2, 1987, eff. Aug. 1, 1987; Apr.
30, 1991, eff. Dec. 1, 1991; Apr. 17, 2000, eff. Dec. 1, 2000;
Apr. 12, 2006, eff. Dec. 1, 2006.)

ADVISORY COMMITTEE NOTES
1966 Adoption ,

Subdivisions. (1), (2). ‘

Adapted from Admiralty Rule 24. The rule is based: on
the assumption that there is no more need for seéurity for
costs in maritime personal actions than in civil cases general-
ly, but that there is reason to retain the requirement for
actions in which property is seized. Asto proceedings for
limitation of liability see Rule F(1). ‘
Subdivision: (8)... yd

The Advisory Committee has. concluded. for: practical. rea-
sons that process requiring seizure of property should contin-
ue. to. be served: only within the: geographical. limita af. the
district.. Compare Rule B(1), continuing the condition that
process of attachment and garnishment may be served only if
the defendant ig not found within the district.” oS

The provisions.of Admiralty Rule 1 concerning the persons
by whom process is to be served will be superseded by
FRCP 4(c). , ~ see
Subdivision: (4). : vos

This rule is intended to preserve the provisions of Admiral-
ty Rules 10-and 36 relating to execution of process; custody
of property seized by the marshal, and the marshal’s return.
It is also designed to. make express. provision for matters not
heretofore covered. o ney

The. provision relating to, clearance in subdivision. (b) is
suggested by Admiralty Rule 44 of the District of Maryland.

Subdivision (d) is suggested by English Rule 12, Order 75.

28. U.S.C. §: 1921. aa: amended.-in 1962 contains. detailed
provisions relating to the expenses of seizing and. preserving
property attached of arrested. a .
Subdivision (5). , oo

In ‘addition to Admiralty Rule 11 (see Rule E(9)), the
release of property seized on process of attacliment or in rem
was déalt with by Admiralty Rulds 5, 6, 12; arid 57, and 28
U.S.C., § 2464 (formerly Rev.Stat. § 941). The rule conaoli-
dates these provisions and makes them uniformly applicable
to attachment and garnishment and actions:in rem. :

The rule restates the substance of Admiralty Rule: 5.
Admiralty: Rule 12 dealt only with ships arrested on in rem
process... Since the same ground appears-to be covered-more
generally by 28 U.S.C., § 2464, the subject matter: of Rule 12
is omitted. The substance of Admiralty Rule 57 is retained.
28 U.S.C, § 2464 is incorporated with changes of terminolo-
gy, and with a substantial change as to the amount of the
bond: See 2 Benédiet 395 n. la [Reference is to the 6th
Edition of Benedict on: Admiralty and not.to the current 7th
Edition}. The ‘Lotosland, 2 F:Supp. 42 (S.D.N.Y.1933):; The

Complete Annotation Materials; see Title: 26° U.S.C.A;
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ADMIRALTY, MARITIME CLAIMS, SUPP. RULES

provision for general bond is enlarged to include the contin-
gency of attachment as well us arrest of the vessel.
Subdivision (6).

Adapted from Admiralty Rule 8.
Subdivision (7).

Derived from Admiralty Rule 50.

Title 46, U.S.C., § 788 extends the principle of Rule 50 to
the Government when sued under the Public Vessels Act,
presumably on the theory that the eredit of the Government
is the equivalent of the best security. The rule adopts this
principle and extends it to all cases in which the Government
is defendant although the Suits in Admiralty Act contains no
parallel provisions.

Subdivision (8).

Under the liberal joinder provisions of unified rules the
plaintiff will be enabled to join with maritime actions in rem,
or maritime actions in personam with process of attachment
and garnishment, claims with respect to which such process
is not available, including nonmaritime claims. Unification
should not, however, have the result that, in order to defend
against an admiralty and maritime claim with respect to
which process in rem or quasi in rem has been served, the
claimant or defendant must subject, himself personally to the
jurisdiction of. the court with reference to other elaims with
respect to which such process is not available or has not been
served, especially when such other claims are nonmaritime.
So far as attachment and garnishment are concerned this
principle holds true whether process is issued according to
admiralty tradition and the Supplemental Rules or according
to Rule 4(e) as incorporated by Rule Bd).

A similar problem may arise with respect to civil actions
other than admiralty and maritime claims within the meaning
of Rule 9h). That is to say, in an ordinary civil action,
whether maritime or not, there may be joined in one action
claims with respect to which process of attachment and
garnishment is available under state law and Rule 4(e) and
claims with respect to which such process is not available or
has not been served. The general Rules of Civil Procedure
do not specit'y whether an appearance in such cases to defend
the claim with respect to which process of attachment and
garnishment has issued is an appearance for the purposes of
the other claims. In that context the question has been
considered best left to case-by-case development. Where
admiralty and maritime claims within the meaning of Rule
9(h) are concerned, however, it seems important to include a
specific provision to avoid an unfortunate and unintended
effect of unification. No inferences whatever as to the effect
of such an appearance in an ordinary civil action should be
drawn from the specific provision here and the absence of
such a provision in the general Rules,

Subdivision (9).

Adapted from Admiralty Rules 11, 12, and 40. Subdivision
(a) is necessary because of various provisions ag to disposi-
tion of property in forfeiture proceedings. In addition to
particular statutes, note the provisions of 28 USC,
§§ 2461-65.

The provision of Admiralty Rule 12 relating to unreason-
able delay was limited to ships but should have broader
application. See 2 Benedict 404 [Reference is to the 6th
Edition of Benedict on Admiralty and not to the current 7th
Edition]. Similarly, both Rules 11 and 12 were limited to

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Rule E

actions in rem, but should equally apply to attached proper-
ty.

1985 Amendment

Rule E(4\f) makes available the type of prompt post-
seizure hearing in proceedings under Supplemental Rules B
and C that the Supreme Court has called for in a number of
cases arising in other contexts. See North Georgia Finish-
ing, Inc. v. Di-Chem, Ine, 419 US. 601 (1975); Mitchell v.
W.T. Grant Co. 416 U.S. 600 (1974). Although post-attach-
ment and post-arrest hearings always have been available on
motion, an explicit statement emphasizing promptness and
elaborating the procedure has been lacking in the Supple-
mental Rules. Rule E(4)(f) is designed to satisfy the consti-
tutional requirement of due process by guaranteeing to the
shipowner a prompt post-seizure hearing at which he can
attack the complaint, the arrest, the security demanded, or
any other alleged deficiency in the proceedings. The amend-
ment also is intended to eliminate the previously disparate
treatment under local rules of defendants whose property
has been seized pursuant to Supplemental Rules B and C.

The new Rule E(4\f) is based on a proposal by the
Maritime Law Association of the United States and on local
admiralty rules in the Eastern, Northern, and Southern
Districts of New York. E.D.N.Y. Local Rule 13; N.D.N.Y.
Local Rule 13; S.D.N.Y. Local Rule 12. Similar provisions
have been adopted by other maritime districts.  E.g.,
N.D.Calif. Local Rule 603.4; W.D.La. Local Admiralty Rule
21. Rule E(4)(f) will provide uniformity in practice and
reduce constitutional uncertainties,

Rule E(4)(f) is triggered by the defendant or any other
person with an interest in the property seized. Upon an oral
or written application similar to that used in seeking a
temporary restraining order, see Rule 65(b), the court is
required to hold a hearing as promptly as possible to deter-
mine whether to allow the arrest or attachment to stand.
The plaintiff has the burden of showing why the seizure
should not be vacated. The hearing also may determine the
amount of security to be granted or the propriety of impos-
ing counter-security to protect the defendant from an im-
proper seizure.

The foregoing requirements for prior court review or proof
of exigent circumstances do not apply to actions by the
United States for forfeitures for federal statutory violations,
In such aetions a prompt hearing is not constitutionally
required, United States v. Eight Thousand Bight Hundred
and Fifty Dollars, 103 S.Ct. 2005 (1983); Calero-Toledo v,
Pearson Yacht Leasing Co., 416 U.S. 663 (1974), and. could
prejudice the government in its prosecution of the claimants
as defendants in parallel criminal proceedings since the
forfeiture hearing could be misused by the defendants to
obtain by way of civil discovery information to which they
would not otherwise be entitled and subject the government
and the courts to the unnecessary burden and expense of two
hearings rather than one.

"1987 Amendment

The amendments are technical.
intended,

No substantive change is

Complete Annotation Materials, see Title 28 U.S.C.A.

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RULES OF CIVIL PROCEDURE

Rule: E

1991 Amendment -

These amendments are designed to conform this rule to
Fed.R.Civ.P. 4, as amended. They are intended to relieve
the Marshals Service: of the burden: of using its limited
personnel and facilities for execution of. process in routine
circumstances. Doing so may involve a contractual arrange-
ment with a person or organization retained by the govern-
ment to perform these services, or the’ use of other govern-
ment officers and employees, or the special appointment by
the court of persons available to perform suitably. a

2000 Amendment

Style changes have been. made throughout the revised
portions of Rule E. Several changes of meaning have been
made as well. ceo .

Subdivision (3). Subdivision (3) is amended to reflect, the
distinction. drawn in Rule C(2)\(c) and (d),. Service in. an
admiralty or maritime proceeding still. must be made.within
the district, as reflected in Rule C(2\(c), while service in
forfeiture proceedings may be made outside the district when
authorized by. statute, as reflected in Rule Q(2)@). ,

Subdivision (7). Subdivision (7)(a) is amended to make it
clear ‘that a plaintiff need give security to meet a counter-
claim only’ when the counterclaim is asserted by a person
who has given security to respond in damages in the original
action! es

Subdivision (8). Subdivision (8) is ‘amended to reflect the
change in Rule B(1)(e) that deletes the former provision
incorporating state quasi-in-rem jurisdiction. “A restricted
appearance is not appropriate when state law is invoked only
for seeurity under Civil Rule 64) not asa basis of ‘quasi-in-
rem jurisdiction: But. if state law allows a special, limited, or
restricted. appearance as an incident of the remedy adopted
from state law, the state practice applies through Rule 64 “in
the manner provided by” state law... ie

Subdivision.(9). Subdivision 9(b)(ii) is amended to reflect
the change in. Rule C(6) that substitutes a statement of
interest or right: for a claim.

Subdivision (10). Subdivision 10 is new. It. makes clear the
authority of the court to preserve and to prevent removal of
attached or arrested property that remains-in the possession
of the owner or other person under Rule E(4)(b).

2006 Amendment"

Rule E is amended to. reflect the adoption of Rule G to
govern: procedure in civil forfeiture actions, .

HISTORICAL NOTES
References in Text . i :
Sections 603 and 604 of Title 46, referred to in subd. (4)(f),
were repealed. by Pub.L. 98-89, § 4(b); Aug. 26, 1983, 97
Stat. 600, section 1 of which enacted Title 46, Shipping:

Rule: F. Limitation of Liability

(1) Time for Filing Complaint; Security. Not
later than six months after receipt of a claim in
writing, any vessel owner may file a complaint in the
appropriate district court, as provided in subdivision
(9) of this- rule, for limitation of liability- pursnant: to
statute. The owner (a) shall deposit with the court;

for the benefit of claimants, a sum equal to the
amount or value of the owner’s interest in: the vessel
and pending freight, or approved security: therefor,
and in addition such sums, or approved. security there-
for, as the court may from time to time fix as, neces-
sary to carry out the provisions of the statutes. as
amended; or (b) at the owner’s option shall transfer to
a trustee to be appointed by the court, for the benefit
of claimants, the owner’s interest in the vessel and
pending freight, together with such sums, or approved
security therefor, as the court may from time to time
fix as necessary to carry out the provisions of the
statutes as amended. The plaintiff shall also give
security for costs and, if the plaintiff elects. to give
security, for interest at the rate of 6 percent. per
annum from the date of the security.
(2) Complaint. The complaint shall set forth th
facts on the basis of which the right to limit liability is
asserted and all facts necessary to enable the court to
determine the amount to which the owner's liability
shall be limited. The complaint may demand exonera-
tion from: as well.aa limitation of liability... It shall
state the voyage if any, on which the demands sought
to be limited arose, with the date and: place of. its
termination; the amount of all demands including: all
unsatisfied liens or claims of lien, in contract or in tort
or otherwise, arising on that voyage, so far as known
to the plaintiff, and. what. actions and proceedings, if
any, are pending. thereon; whether the vessel was
damaged, lost, or abandoned, and, if go, when and
where; the value of the vessel at the close of the
voyage or, in case of wreck, the value of her wreckage,
strippings, or proceeds, if any, and where and. in
whose possession they. are; and: the amount of any.
pending. freight recovered. or recoverable; If the
plaintiff elects to transfer the plaintiff's interest in the
vessel to a trustee; the complaint must-further show
any prior paramount liens thereon; and what voyages
or trips; if any, she has made since the voyage or trip
on which the claims sought to be limited arose, and
any existing liens ‘arisirig upon any such ‘subsequent
voyage or trip, with the amounts and causes thereof,
and the names and addresses of the lienors, so far as
known; and whether the vessel sustained any: injury
upon or by reason of such subsequent voyage or trip.
(3) Claims Against Owner; Injunction. Upon
compliance by the owner with the requirements of
subdivision (1) of this rule all claims and proceedings
against the owner. or the owner’s property with re-
spect to the matter in question shall cease, On appli-
cation of the plaintiff the court shall enjoin the further
prosecution of any action or proceeding against the
plaintiff or the plaintiff's property with respect to any
claim subject to limitation in the action.
(4). Notice te Claimants. Upon the owner’s. com-
pliance with subdivision (1) of this rule the court shall
issue. a notice to all persons asserting claims with

Complete Annotation Materials; see Title 28: U.S.C.A;
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